                                       Case 5:18-cr-00172-BLF Document 91 Filed 12/31/20 Page 1 of 5




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                               5   Attorneys for Defendant
                                   MICHAEL KAIL
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                                                                UNITED STATES DISTRICT COURT
                               8
                                                               NORTHERN DISTRICT OF CALIFORNIA
                               9
                                                                        SAN JOSE DIVISION
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                                   UNITED STATES OF AMERICA,                         Case No. CR 18-00172 BLF
JAYNE LAW GROUP, P.C.




                              12
 Oakland, California 94607
  483 9th Street, Suite 200




                                                  Plaintiff,                         DEFENDANT’S MOTION IN LIMINE
                              13                                                     NO. 3 TO EXCLUDE EVIDENCE OF MR.
                                          v.                                         KAIL’S COMPENSATION WITH
                              14                                                     NETFLIX
                                   MICHAEL KAIL et al,
                              15                                                     Pretrial Conference: January 14, 2021
                                                  Defendant.                         Time:                1:30 p.m.
                              16                                                     Dept:                Courtroom 3
                                                                                     Judge:               Hon. Beth L. Freeman
                              17
                                                                                     Trial Date:         February 22, 2021
                              18

                              19
                                          PLEASE TAKE NOTICE that on January 14, 2021 or as soon thereafter as this motion
                              20
                                   may be heard, in the courtroom of the Honorable Beth Labson Freeman, United States District
                              21
                                   Court Judge, Defendant Michael Kail will and hereby does move this Court in limine for an order
                              22
                                   excluding evidence of Mr. Kail’s compensation with Netflix from 2011-2014. This motion is
                              23
                                   based on the Federal Rules of Criminal Procedure, the Federal Rules of Evidence, the
                              24
                                   accompanying memorandum of points and authorities, the files and records in this matter, all
                              25
                                   applicable law, and upon such further argument and evidence as may be presented prior to and
                              26
                                   during the hearing.
                              27

                              28
                                   DEFENDANTS’ MOTION IN LIMINE, NO. 3                                                               i
                                   Case No. 18-00172 BLF
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                               1   Dated: December 31, 2020              Respectfully submitted,

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                                                                         JAYNE LAW GROUP, P.C.
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                               5                                         By:         /s/ Julia Jayne
                                                                                       Julia Jayne
                               6                                                       Attorneys for MICHAEL KAIL
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                                   DEFENDANTS’ MOTION IN LIMINE, NO. 3                                              ii
                                   Case No. 18-00172 BLF
                                          Case 5:18-cr-00172-BLF Document 91 Filed 12/31/20 Page 3 of 5




                                  1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                  2          Mr. Kail earned between $400,000 and $883,000 per year in salary and bonuses at Netflix

                                  3   between 2011 and 2014.1 The defense anticipates the government will seek to introduce evidence

                                  4   of this compensation at trial. See Gov. Exh. 7-8 (Kail’s W-2s). Any such evidence should be

                                  5   excluded under Rules 402 and 403. The Ninth Circuit prohibits the bare admission of evidence

                                  6   related to a criminal defendant’s financial circumstances when offered to establish a profit motive.

                                  7   See United States v. Mitchell, 172 F.3d 1104, 1110 (9th Cir. 1999); United States v. Bensimon, 172

                                  8   F.3d 1121, 1129-30 (9th Cir. 1999) (noting the “limited probative value” and “likely prejudicial

                                  9   effect” of evidence of the defendant’s bankruptcy for the purpose of showing financial incentive to

                                 10   commit a crime).

                                 11          Since “it is in anyone’s interest to be richer rather than poorer,” evidence of “mere
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                                 12   financial interest” unconnected with “inclination, desperation, or other evidence that the person
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                                 13   was likely to commit the crime does not add much, in most cases, to the probability that the
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                                 14   defendant committed a crime.” Mitchell, 172 F.3d at 1109; see also United States v. Unruh, 855

                                 15   F.2d 1363, 1377 (9th Cir. 1987) (admonishing that evidence of a defendant’s wealth “should not

                                 16   be offered unless clearly connected” to the specific charges or conduct at issue). Although

                                 17   Mitchell concerned an impoverished alleged bank robber, the Ninth Circuit explicitly extended its

                                 18   holding to other end of the income spectrum: “A rich man’s greed is as much a motive to steal as a

                                 19   poor man’s poverty. Proof of either, without more, is likely to amount to a great deal of unfair

                                 20   prejudice with little probative value.” Mitchell, 172 F.3d at 1108-09.

                                 21          Given this authority, evidence regarding Mr. Kail’s compensation is categorically

                                 22   inadmissible unless the government can connect it directly to the charged offense. See also United

                                 23   States v. Reyes, No. 06-cr-00556, Dkt. 1045, at 84:21-91:8 (N.D. Cal. Feb. 17, 2010) (excluding in

                                 24   oral order evidence of salary and bonuses as “too tangential” to intent and motive while admitting

                                 25   evidence of defendant’s stock sales and grants directly connected to stock-inflation scheme), aff’d,

                                 26
                                 27   1
                                       Mr. Kail started working at Netflix in June 2011 and left in August 2014, so there are only
                                 28   two W2s for complete years.

                                      DEFENDANTS’ MOTION IN LIMINE, NO. 3                                                                 1
                                          Case 5:18-cr-00172-BLF Document 91 Filed 12/31/20 Page 4 of 5




                                  1   660 F.3d 454, 463-64 (9th Cir. 2011); see also United States v. Ferguson, No. 3:06-cr-137, 2007

                                  2   WL 4240782, at *1 (D. Conn. Nov. 30, 2007) (same). This it cannot do. Mr. Kail’s compensation

                                  3   at Netflix is not probative of whether he engaged in honest services fraud.

                                  4           Here, it is undisputed that Mr. Kail received consulting fees, earnings, and distributions

                                  5   from exercise options from various companies; such earnings will be introduced by the

                                  6   government at trial and are independent of Mr. Kail’s income and bonuses at Netflix. If anything,

                                  7   the progressive increase in Mr. Kail’s salary shows that Netflix was pleased with his job

                                  8   performance, which of course included bringing in new technology vendors to streamline and

                                  9   create efficiency within Netflix. But ultimately, the amount of his income is not relevant to any

                                 10   disputed issue at trial.

                                 11           Meanwhile, admission of Mr. Kail’s compensation would have significant prejudicial
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                                 12   effect. Mr. Kail’s compensation could trigger unwarranted negative associations on the part of
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                                 13   certain jurors to infect their view of the evidence. See Mitchell, 172 F.3d at 1109; United States v.
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                                 14   Reyes, supra, No. 06-cr-00556, Dkt. 1045, at 86:15-23 (“[I]f you start talking about those

                                 15   particular numbers [salary and bonus], you excite the jurors’ antipathy, potential antipathy towards

                                 16   someone who is well off. And, maybe he was way over-compensated. Maybe he wasn’t. But, but,

                                 17   it doesn’t prove – because he was or wasn’t over-compensated doesn’t establish whether or not he

                                 18   backdated other people’s options.”)

                                 19           In addition, if evidence of Mr. Kail’s compensation were admitted, it would necessitate the

                                 20   admission of additional testimony and evidence concerning the components of his compensation

                                 21   and W2s and possibly even a comparative analysis of CTO salaries in the industry in that time

                                 22   period. Given that the amount of Mr. Kail’s compensation and additional earnings are not in

                                 23   dispute, this sideshow would be especially wasteful. Accordingly, the Court should exclude all

                                 24   evidence of Mr. Kail’s compensation under Rule 403.

                                 25                                             CONCLUSION

                                 26           For the reasons stated, Michael Kail requests that the Court grant this motion.
                                 27

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                                      DEFENDANTS’ MOTION IN LIMINE, NO. 3                                                                  2
                                      Case No. 18-00172 BLF
                                         Case 5:18-cr-00172-BLF Document 91 Filed 12/31/20 Page 5 of 5




                                  1   Dated: December 31, 2020              Respectfully submitted,

                                  2
                                                                            JAYNE LAW GROUP, P.C.
                                  3

                                  4

                                  5                                         By:         /s/ Julia Jayne
                                                                                          Julia Jayne
                                  6                                                       Attorneys for MICHAEL KAIL
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                                      DEFENDANTS’ MOTION IN LIMINE, NO. 3                                              3
                                      Case No. 18-00172 BLF
